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   12                                UNITED STATES DISTRICT COURT
   13               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14
         CONCERNED JEWISH PARENTS                       Case No. 2:22-cv-03243-FMO (PVCx)
   15    AND TEACHERS OF LOS
         ANGELES, JOHN DOE, AND
   16    JANE DOES 1-5,                                 JOINT REPORT PURSUANT TO
                               Plaintiffs,              FEDERAL RULE OF CIVIL
   17
                  v.                                    PROCEDURE 26(f) AND THIS
   18                                                   COURT’S ORDER OF NOVEMBER 2,
         LIBERATED ETHNIC STUDIES                       2022
   19    MODEL CURRICULUM
         CONSORTIUM; UNITED
   20    TEACHERS OF LOS ANGELES;
         CECILY MYART-CRUZ,
   21    THERESA MONTANO, AND
         GUADALUPE CARRASCO                             SCHEDULING CONFERENCE
   22    CARDONA, in their individual and               DATE: DECEMBER 22, 2022
         official capacities as public
   23    employees; AND DOES 1-10,
   24                          Defendants,
   25             and
   26    LOS ANGELES UNIFIED
         SCHOOL DISTRICT,
   27
                               Nominal Defendant.
   28
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      Attorneys for the Defendant Los Angeles Unified
   21 School District
   22
   23
   24
        TO THIS HONORABLE COURT:
   25
        The parties submit this report pursuant to Federal Rule of Civil Procedure 26(f) and
   26
        this Court’s Order of November 2, 2022.
   27
   28
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    1 A.         Statement of the Case: A short synopsis (not to exceed two pages) of the
    2            main claims, counterclaims and affirmative defenses.
    3
    4 Plaintiffs’ Position:
    5            This case challenges the use in Los Angeles public school classrooms of an
    6 overtly racist and antisemitic curriculum and teaching materials whose use has
    7 already been explicitly barred by the State of California. That mandate has been
    8 expressed both by Governor Newsom, who directed that the materials here at issue
    9 “should not be used,”Complaint ¶82, and by the California Legislature, ¶83, which,
   10 in the statute requiring that Ethnic Studies be taught in California, chose to explicitly
   11 direct “that local educational agencies not use” these materials. The case does not,
   12 therefore, ask this Court to determine what should be taught in LA public schools: it
   13 simply seeks enforcement of the mandate of the State of California that these
   14 antisemitic and racist materials not be used in LA public schools, both because the
   15 State California has reviewed them and banned their use, and because their use
   16 violates an array of federal and state provisions barring the use in public schools of
   17 materials that are racist and that discriminate on the basis of nationality, ethnicity,
   18 and religion. Neither does this case ask this Court to resolve questions of religious
   19 belief; instead, it seeks only enforcement of the rights of plaintiffs to their own
   20 sincerely held religious beliefs, and to their right not to have publicly funded
   21 teachers denounce those beliefs on the public dime, using their publicly funded
   22 teachers’ podium to drive public expression of and support for those beliefs out of
   23 the public square.
   24            The relief sought is limited to an end to the use of that curriculum in the Los
   25 Angeles public schools. The complaint charges that Defendants Liberated Ethnic
   26 Studies Model Curriculum Consortium and its officers, and the teachers union
   27 United Teachers of Los Angeles and its president have taken effective control of the
   28 ethnic studies curriculum in Los Angeles public schools, effecting that control in
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    1 significant part by instructing teachers to hide their use of the curriculum and
    2 teaching materials propounded by these Defendants. The Complaint seeks
    3 absolutely nothing other than an end to these practices. It does not seek any judicial
    4 limitation on Defendants’ advocacy, to the LAUSD or anywhere else, regarding
    5 what should be taught in LAUSD schools.
    6            Defendants, a labor union and consortium of “experts” on Ethnic Studies, are
    7 named here because – as the Complaint clearly alleges – they have taken effective
    8 control of the content of LAUSD teaching. This is a public function, as Defendants
    9 do not dispute. No regulation of the private conduct of private parties is at issue in
   10 this case. No immunity of any kind protects Defendants, because, as the Complaint
   11 alleges clearly and in detail, Defendants’ explicitly stated intent is to suppress public
   12 expression of, and advocacy for, Plaintiffs’ sincerely held religious belief. Such
   13 intent is manifest in Defendants’ proudly broadcast assertion that California’s
   14 Governor and Legisalture were simply wrong in barring the use of the materials here
   15 at issue, and so Defendants’ intention to use them in explicit contravention of, and
   16 violation of, that ban. Complaint ¶¶9, 92 (quoting Defendant Myart-Cruz stating
   17 that “that the curricular material adopted by the State of California is ‘not actually
   18 ethnic studies.’”
   19            The dispute presented by this Complaint is ripe because, as the Complaint
   20 alleges in ¶2, LAUSD has since 2020 mandated that Ethnic Studies be taught in its
   21 schools and because, as a result of that mandate and Defendants’ actions, the racist
   22 and antisemitic materials at issue in this case are being used, now in LAUSD.
   23 Conrtary to Defendants’ contention in their Motions to Dismiss, this Complaint
   24 therefore does not relate to or challenge some future potential adoption of a
   25 curriculum. Rather, the Complaint therefore alleges that “Defendants are now
   26 inserting” these racist and antisemitic materials into LAUSD classrooms, ¶15, and
   27 so the Complaint alleges clearly that these materials, and their racist and antisemitic
   28 content, are, now, being used, now, to teach children in LAUSD. These actions by
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    1 Defendants are therefore, now, causing harm and making the threat of further harm
    2 imminent. ¶¶29, 30. Among the Defendants is Guadalupe Carrasco Cardona, who
    3 is now a teacher in LAUSD, who is now teaching Ethnic Studies in LAUSD, and
    4 who has stated explicitly that she is now using, and will continue to use, the racist
    5 and antisemitic teaching materials at issue in this case. ¶45.
    6            The Complaint charges that the use of these materials violates the Free
    7 Exercise clause of the First Amendment, because these teaching materials denounce
    8 a tenet of the Jewish faith which is adhered to by the individual plaintiffs and by a
    9 great many other Jews, and because Defendants have made clear that their intention,
   10 through the use of these materials, is to drive public expression and advocacy of that
   11 belief out of the public square and out of the Los Angeles public schools.
   12 Complaint ¶¶11, 57, 59. It charges as well that, for the same reason, the use of these
   13 teaching materials violates the Equal Protection clause of the Fourteenth
   14 Amendment, and Title VI of the Civil Rights Act of 1964. Finally, the Complaint
   15 charges that the use of these teaching materials constitutes a violation of an array of
   16 California statutes which explicitly ban the use of teaching materials that
   17 discriminate on the basis of nationality, ethnicity, race and religion, and which
   18 require that such materials be public.
   19            The Complaint does not seek any limitation on the speech of any person other
   20 than the content of what is taught in public school classrooms.
   21
   22 Defendants’ Position:
   23            Plaintiffs disagree with most of the Defendants—Theresa Montano,
   24 Guadalupe Carrasco Cardona, and the Liberated Ethnic Studies Model Curriculum
   25 Consortium (the “Liberated Defendants”), and United Teachers Los Angeles and
   26 Cecily Myart-Cruz (the “UTLA Defendants”) over what should be taught in Ethnic
   27 Studies classes. Plaintiffs disagree with all Defendants (including the Los Angeles
   28 Unified School District [the “School District”]) over whether the School District or
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    1 the federal courts should determine curriculum. Plaintiffs’ abstract disagreement
    2 with the content of a potential curriculum that has not even been implemented is not
    3 an Article III case or controversy, nor does it implicate any of the laws cited in the
    4 Complaint. Plaintiffs have disguised this political disagreement as one that is based
    5 on religion or national origin when in fact it is neither. Like so many other issues,
    6 there is deep division. National surveys show that 38% of American Jews between
    7 18 and 39 believe Israel is an apartheid state – and fully 20% of Israelis are
    8 Palestinian, so there is no factual basis to claim that any proposed curriculum,
    9 including one containing critical statements about Israel or Zionism -- is racist or
   10 anti-Semitic.
   11            Plaintiffs make claims in this Report that they did not dare to make in the
   12 Complaint itself. The Complaint never claims that any particular curriculum is in
   13 use in or by the School District, but merely that it might be used. The Complaint
   14 never claims that the Liberated Defendants and UTLA Defendants have “taken
   15 effective control” of the ethnic studies curriculum, or that the School District has
   16 adopted and/or is actually teaching this particular curriculum. Finally, Plaintiffs
   17 falsely claim in this report that they only seek to limit what can be taught in the
   18 classroom. This flatly denies what is in their own Prayer for Relief, paragraphs 2, 3,
   19 4, 5b, 5c, 5d, 6a. 6b, and 7.
   20            Further, UTLA Defendants are private parties with no control, authority over,
   21 or responsibility for what public school teachers teach in the classroom, and they
   22 have never advised teachers to violate any law or conspired with anyone to violate
   23 the law. None of the causes of action apply to them; they are private parties, not
   24 state actors, being sued for advocacy protected by the First Amendment in a bald
   25 attempt to silence them.
   26
   27
   28
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    1 B.         Subject Matter Jurisdiction: A statement of the specific basis of federal
    2            jurisdiction, including supplemental jurisdiction.
    3
    4
        Plaintiffs’ Position:
    5
                 This Court has jurisdiction over the case by operation of 28 U.S.C. Sections
    6
        1331 (federal question) and 1343 (violation of federally protected civil rights), and
    7
        Section 1367 (ancillary jurisdiction over state law claims). As noted above, state
    8
        action is present here because Defendants have taken over the state function of
    9
        determining the content of public school curriculum, and sought to preserve their
   10
        control over that function by directing teachers both to use the racist and antisemitic
   11
        material here at issue and to conceal and hide such use, from school administrators,
   12
        other regulatory officials, parents and the public.
   13
                 The CJPTLA is an organization of Jewish LAUSD teachers and parents of
   14
        LAUSD students, and it has standing because its members have been injured, and
   15
        will continue to be injured, by the use of these materials.
   16
   17
        Defendants’ Position:
   18
                 There is none. (1) Plaintiffs have not stated a concrete and particularized
   19
        injury because no curriculum has been adopted and they do not allege their children
   20
        have been taught anything at all or that they themselves have suffered unequal
   21
        treatment or any other cognizable injury. The vague and speculative prospect of
   22
        future harm is insufficient. (2) The CJPTLA is not a bona-fide organization, but
   23
        merely an unincorporated hodge-podge of the same unharmed individuals, and there
   24
        is no alleged injury to the organization itself.
   25
   26
   27
   28
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    1 C.         Legal Issues: A brief description of the key legal issues, including any
    2            unusual substantive, procedural or evidentiary issues.
    3
    4 Plaintiffs’ Position:
    5            The central questions posed by this case are:
    6             Whether the content of the teaching materials at issue is in fact racist and
    7                 antisemitic.
    8             Whether Defendants have sufficient effective control over the use of these
    9                 materials in the Los Angeles public schools that their actions are
   10                 appropriately challenged as state action for purposes of the federal civil
   11                 rights laws, and for purposes of the state laws barring the use of teaching
   12                 materials infected by bias on the basis of nationality, ethnicity, religion or
   13                 race.
   14             Whether a First Amendment right exists for the conduct of public school
   15                 teachers during work time.
   16
   17 Defendants’ Position:
   18            The key legal issues are the following:
   19             Whether Plaintiffs have standing to bring this action.
   20             Whether Plaintiffs can proceed anonymously.
   21             Whether Plaintiffs’ Operative Complaint calls upon this Court to rule upon
   22                 non-justiciable political or sociopolitical controversies or disputes.
   23             Whether Plaintiffs’ Operative Complaint calls upon this Court to rule upon
   24                 non-justiciable religious controversies or disputes.
   25             Whether the School District is fulfilling a state function and as such enjoys
   26                 11th Amendment immunity.
   27             Whether any of the Liberated or UTLA Defendants have acted under color
   28                 of state law, and if not, are therefore immune from liability on Counts I
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    1                 and II.
    2             Whether any of the Liberated or UTLA Defendants are subject to Title VI
    3                 (Count III).
    4             Whether, even if the Liberated or UTLA Defendants were state actors,
    5                 they would enjoy qualified immunity.
    6             Whether Plaintiffs have any right to dictate what is taught in the public
    7                 schools.
    8             Whether the relief Plaintiffs actually seek (as opposed to what they claim
    9                 to seek in this report) is an unconstitutional prior restraint on speech.
   10             Whether anything any of the Defendants have done unduly burdens
   11                 Plaintiffs’ free exercise of their religion.
   12             Whether Plaintiffs have adequately stated a claim for municipal liability
   13                 against the School District.
   14             Whether any of the Defendants have intentionally discriminated against
   15                 Plaintiffs on account of Plaintiffs’ race, religion or national origin.
   16             Whether any materials at issue promote a discriminatory bias and whether
   17                 teachers/the District abused discretion in determining that any material at
   18                 issue does not promote a discriminatory bias.
   19             Whether any of the state Education Code provisions invoked by Plaintiffs
   20                 apply to private parties.
   21             Whether any of the state Education Code provisions invoked by Plaintiffs
   22                 in Count V apply to this case.
   23             Whether the complained-of non-classroom activities of Liberated and
   24                 UTLA Defendants are protected by the First Amendment, the Noerr-
   25                 Penningon Doctrine, California Code of Civil Procedure section 47, and
   26                 the California Educational Employment Relations Act [Cal. Gov’t Code §
   27                 3543.5(a)-(c)]. Whether Plaintiffs’ Prayer for Relief would call upon this
   28                 Court to impose and unconstitutional restraint on Defendants’ free speech.
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    1 D.         Parties, Evidence, etc.: A list of parties, percipient witnesses and key
    2            documents on the main issues in the case. For conflict purposes,
    3            corporate parties must identify all subsidiaries, parents and affiliates.
    4
    5 Plaintiffs’ Position:
    6            Plaintiffs are at this stage of the case able to identify as witnesses only the
    7 individuals named as Defendants in this action, who have led the organizations
    8 named as Defendants. As the Ninth Circuit has explained, anonymity will not affect
    9 the prosecution or defense of the claims in this case: “it is difficult to see ‘how
   10 disguising plaintiffs' identities will obstruct public scrutiny of the important issues in
   11 this case[,]’ Advanced Textile, 214 F.3d at 1072, [because t]he Doe children bring
   12 claims of widespread discrimination.” Doe v. Kamehameha, 596 F.3d 1036, 1043
   13 (9th Cir. 2010). Plaintiffs have completed the process of meeting and conferring
   14 with Defendants regarding the filing of a motion for leave to proceed anonymously,
   15 and will file such a motion within the next five business days.
   16            Plaintiffs note that Defendants have challenged the sufficiency of the
   17 Complaint’s allegations of state action as the basis for federal jurisdiction, and that
   18 state action is a jurisdictional fact. Fonseca v. Kaiser Permanenta Medical Ctr
   19 Roseville, 222 F.Supp.3d 850 (E.D. CA 2016), with respect to which discovery may
   20 be had even while a motion to dismiss is pending.
   21
   22 Defendants’ Position:
   23            Defendants cannot identify witnesses beyond themselves as parties in part
   24 because the Plaintiffs refuse to disclose their identities. Defendants object to initial
   25 disclosures prior to resolution of their motions to dismiss and, as to UTLA
   26 Defendants, UTLA Defendants’ Special Motion to Strike. Disclosures would be
   27 inappropriate in this case because the Plaintiffs refuse to disclose their identities and
   28 have not sought leave to proceed anonymously or been granted a protective order.
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    1 Further, providing initial disclosures prior to the resolution of the pending
    2 dispositive motions, which do not require discovery for resolution, would be unduly
    3 burdensome, wasteful, and harmful to the First Amendment rights of UTLA
    4 Defendants, Liberated Defendants, and members of the public, whose speech will be
    5 chilled by forced disclosures. See, e.g., Mireskandari v. Daily Mail, No. CV 12-
    6 02943 MMM (FFMx), 2013 U.S. Dist. LEXIS 199145, at *8-9 (C.D. Cal. Jan. 14,
    7 2013). The same grounds that Defendants will argue in their motions to stay
    8 discovery apply to their objections to initial disclosures.
    9
   10 Conflicts:
   11            Defendant Liberated Ethnic Studies Model Curriculum Consortium has no
   12 subsidiaries, parents, or affiliates.
   13            Defendant United Teachers Los Angeles is not incorporated. It is affiliated
   14 with the National Education Association and the American Federation of Teachers.
   15            Defendant Los Angeles Unified School District is not incorporated.
   16
   17 E.         Insurance: Whether there is insurance coverage and the extent of such
   18            coverage.
   19            Because no financial remedy is sought by Plaintiffs in this case, Plaintiffs
   20 believe this topic is irrelevant. The Liberated Defendants concur.
   21            Defendant United Teachers Los Angeles does not believe at this time it has
   22 applicable insurance coverage.
   23
   24 F.         Magistrate Judge: Whether the parties consent to a mutually agreeable
   25            magistrate judge from the court's Voluntary Consent List to preside over
   26            this action for all purposes, including trial.
   27            The parties have conferred and they are not in agreement that the matter
   28 should be tried or otherwise presided over by a magistrate judge.
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    1
    2 G.         Discovery: A detailed discovery plan and a proposed discovery cutoff
    3            date. If the parties anticipate calling expert witnesses, they must propose
    4            a schedule for expert witness disclosures (initial and rebuttal) and expert
    5            discovery cut−off under Fed. R. Civ. P. 26(a)(2).
    6            The parties have conferred and agree that ten months is an appropriate period
    7 for fact discovery, to be followed by two months of expert discovery. Plaintiffs’
    8 position is that this is a sufficient discovery plan. Defendants’ position is that, after
    9 the pending motions are decided and the scope of the claims, if any remain, is clear,
   10 the UTLA and School District Defendants, at a minimum, plan to serve RFPs,
   11 RFAs, and interrogatories, and conduct depositions of each individual Plaintiff.
   12
   13
   14 H.         Motions: A statement of the likelihood of motions seeking to add other
   15            parties or claims, file amended pleadings, transfer venue, etc.
   16            The plaintiffs believe that the Los Angeles Unified School District, which is
   17 currently a Nominal Defendant, may have to be added as an active Defendant.
   18            Defendants at this time do not believe they will need to file any such motions.
   19
   20 I.         Class Certification: A proposed deadline for the filing of a class
   21            certification motion, if applicable.
   22            Not applicable
   23
   24 J.         Dispositive Motions: A proposed cutoff date for dispositive motions and a
   25            description of the issues or claims that any party believes may be
   26            determined by such motions.
   27
   28 Plaintiffs’ Position:
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    1            The Plaintiffs believe that dispositive motions should be filed no later than
    2 thirteen months from the date of the filing of this Rule 26(f) Report.
    3
    4 Defendants’ Position:
    5            The Defendants believe that dispositive motions should be filed no later than
    6 thirteen months from the date the pending dispositive motions are decided.
    7 Defendants have already filed what they expect are dispositive motions with the
    8 Motions to Dismiss and Special Motion to Strike the Plaintiffs’ Second Amended
    9 Complaint. If any issues remain after the Court rules on those motions, the
   10 Defendants’ dispositive motions will likely address each of the still-applicable legal
   11 issues identified in their submission under Paragraph C of this Report. UTLA
   12 Defendants will likely also file a new Special Motion to Strike under California’s
   13 Anti-SLAPP law and Rule 56 addressing any remaining state law claims.
   14 K.         Settlement/Alternative Dispute Resolution (ADR): A statement of what
   15            settlement discussions or written communications have occurred
   16            (excluding any statement of the terms discussed). Even if the parties
   17            receive a Notice to Parties of Court Directed ADR Program, the parties
   18            shall indicate their settlement preference regarding private mediation,
   19            the assigned Magistrate Judge or an attorney from the court's ADR
   20            Panel in the Rule 26(f) report. No case will proceed to trial unless all
   21            parties, including an officer (with full authority to settle the case) of each
   22            corporate party, have appeared personally at an ADR proceeding.
   23            The parties have had limited settlement discussions over email and phone in
   24 connection with the pending motions to dismiss and UTLA Defendants’ Special
   25 Motion to Strike, as well as the previous set of dispositive motions.
   26            The parties believe they will be better able to assess the utility of alternative
   27 dispute resolution or settlement efforts after the court has ruled on the currently
   28 pending Motions to Dismiss, and UTLA Defendants are willing to engage in
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    1 mediation before the assigned Magistrate Judge or an attorney from the court’s ADR
    2 Panel.
    3
    4 L.         Pretrial Conference and Trial: The proposed dates for the pretrial
    5            conference and trial.
    6            The parties have proposed the date of May 8, 2024 for the pretrial conference
    7 and the date of May 22, 2024 for the trial.
    8
    9 M.         Trial Estimate: A realistic estimate of the time required for trial and
   10            whether trial will be by jury or by court. Each side should specify (by
   11            number, not by name) how many witnesses it contemplates calling. If the
   12            time estimate for trial given in the Joint Rule 26(f) Report exceeds four
   13            court days, counsel shall be prepared to discuss in detail the estimate.
   14            Plaintiffs believe they will be able to present their case in three trial days, and
   15 estimate they will require fewer than ten witnesses to do so.
   16            Liberated Defendants expect to present their case in 2 days and currently
   17 envision calling 5-6 witnesses.
   18            UTLA Defendants expect to present their case in 2 days and currently
   19 envision calling 3-4 witnesses.
   20            Defendant Los Angeles Unified School District expects to present its case in
   21 2-3 days and currently envisions calling 3-4 witnesses.
   22
   23 N.         Trial Counsel: The name(s) of the attorney(s) who will try the case.
   24            Jerome M. Marcus and Lori Lowenthal Marcus are expected to be trial
   25 counsel for Plaintiffs.
   26            Lisa Demidovich is expected to be lead trial counsel for the UTLA
   27 Defendants.
   28            Mark Kleiman is trial counsel for the Liberated Defendants.
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    1            Michele M. Goldsmith is trial counsel for the Los Angeles Unified School
    2 District.
    3
    4 O.         Independent Expert or Master: Whether this is a case where the court
    5            should consider appointing a master pursuant to Fed. R. Civ. P. 53 or an
    6            independent scientific expert. (The appointment of a master may be
    7            especially appropriate if there are likely to be substantial discovery
    8            disputes, numerous claims to be construed in connection with a summary
    9            judgment motion, a lengthy Daubert hearing, a resolution of a difficult
   10            computation of damages, etc.)
   11
   12            The parties do not believe that an independent expert or master will be helpful
   13 in this case.
   14
   15 P.         Other Issues: A statement of any other issues affecting the status or
   16            management of the case (e.g., unusually complicated technical or
   17            technological issues, disputes over protective orders, extraordinarily
   18            voluminous document production, non-English speaking witnesses, ADA-
   19            related issues, discovery in foreign jurisdictions, etc.) and any proposals
   20            concerning severance, bifurcation or other ordering of proof. The Joint
   21            Rule 26(f) Report should set forth the above described Information
   22            under section headings corresponding to those in this Order.
   23
   24 Plaintiffs’ Position:
   25            None. Plaintiff offered on November 10, 2022 to negotiate the terms of any
   26 necessary protective order, and to maintain as “Attorneys’ Eyes Only” any
   27 documents produced in discovery until a protective order is in place. Defendants
   28 have never taken up Plaintiffs’ offer to negotiate the terms of any such order; they
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    1 have never identified any items of discovery that would need to be subject to such
    2 an order; and they have never explained why an “Attorney’s Eyes Only” provision
    3 would not protect any legitimate interests until a Protective Order is put in place
    4 either by agreement of the parties or by Order of this Court.
    5
    6 Defendants’ Position:
    7            Liberated and UTLA Defendants will today file Motions to Stay Discovery
    8 pending resolution of dispositive motions and if the stay is not granted expect there
    9 will not be agreement between Plaintiffs and Defendants regarding a Protective
   10 Order, so further motions will have to be filed.
   11
   12 Dated: December 8, 2022                  Respectfully submitted,
   13
                                               THE DEBORAH PROJECT
   14
                                         By:   /s/ Lori Lowenthal Marcus
   15
                                               LORI LOWENTHAL MARCUS
   16
                                         By:   /s/ Jerome M. Marcus
   17
                                               JEROME M. MARCUS
   18
   19                                          JUDICIAL WATCH, INC.

   20                                    By:   /s/ Robert Patrick Sticht.
   21                                          ROBERT PATRICK STICHT

   22                                          Attorneys for Plaintiffs
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   24
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        850519v1 11250-32004                      16              Case No. 2:22-cv-03243-FMO (PVCx)
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    1 DATED: December 8, 2022                   IRA L. GOTTLIEB
                                                LISA C. DEMIDOVICH
    2
                                                ADAM KORNETSKY
    3                                           BUSH GOTTLIEB, A Law Corporation
    4
    5                                           By:       /s/
    6                                               ADAM KORNETSKY
                                                Attorneys for United Teachers Los Angeles and
    7                                           Cecily Myart-Cruz
    8
    9 DATED: December 8, 2022                   MARK ALLEN KLEIMAN
                                                KLEIMAN RAJARAM
   10
   11
   12                                           By:      /s/
   13                                                 MARK ALLEN KLEIMAN
   14                                           Attorneys for Theresa Montaño,
   15                                           Guadalupe Cardona, and the Liberated
                                                Ethnic Studies Model Curriculum
   16                                           Consortium
   17
   18 DATED: December 8, 2022                   MICHELE M. GOLDSMITH
                                                GEORGE G. ROMAIN
   19                                           BDG LAW GROUP, APLC
   20
   21
   22                                           By:       /s/
                                                      MICHELE M. GOLDSMITH
   23
   24                                           Attorneys for Los Angeles Unified
                                                School District
   25
   26
   27                                      Signature Attestation

   28            Pursuant to Local Rule 5-4.3.4(a)(2)(i), I attest that all other signatories listed,
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                                            JOINT RULE 26(f) REPORT
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    1 and on whose behalf this filing is submitted, concur in the filing’s content and have
      authorized the filing.
    2
    3 Dated: December 8, 2022                 JUDICIAL WATCH, INC.
    4
                                       By:    /s/ Robert Patrick Sticht.
    5                                         ROBERT PATRICK STICHT
    6
                                              Attorneys for Plaintiffs
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        850519v1 11250-32004                     18              Case No. 2:22-cv-03243-FMO (PVCx)
                                       JOINT RULE 26(f) REPORT
